






Opinion issued April 5, 2007













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-00562-CR

____________


JUAN SANCHEZ, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the County Criminal Court at Law No. 4

Harris County, Texas

Trial Court Cause No. 1349176






MEMORANDUM  OPINION

	On April 2, 2007, appellant filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

	We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

	The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.

Do not publish.  Tex. R. App. P. 47.2(b).


